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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 SEGA CORP. and ATLUS CO., LTD.,

               Plaintiffs,                         No. 24 C 4688

        v.                                         Judge Thomas M. Durkin

 THE INDIVIDUALS, CORPORATIONS,
 LIMITED LIABILITY COMPANIES,
 PARTNERSHIPS, and UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON SCHEDULE
 A,

               Defendants.


                     MEMORANDUM OPINION AND ORDER

       Plaintiffs Sega Corp. (“Sega”) and Atlus Co., Ltd. (“Atlus”) filed this suit

against 105 defendants, including Japan Entrance. Plaintiffs allege trademark

infringement and counterfeiting in violation of 15 U.S.C. § 1114, false designation of

origin in violation of 15 U.S.C. § 1125(a), and violation of the Illinois Uniform

Deceptive Trade Practices Act (“IUDPTA”) under 815 ILCS 510/1 et seq. Japan

Entrance appeared and filed a motion to dismiss the complaint with prejudice

pursuant to Federal Rule of Civil Procedure 12(b)(6). R. 63. For the following reasons,

that motion is granted in part and denied in part. The complaint is dismissed without

prejudice, and Plaintiffs may file an amended complaint within 30 days. The asset

restraint is hereby lifted.




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                                   Legal Standard

      A Rule 12(b)(6) motion challenges the “sufficiency of the complaint.” Gunn v.

Cont’l Cas. Co., 968 F.3d 802, 806 (7th Cir. 2020). A complaint must provide “a short

and plain statement of the claim showing that the pleader is entitled to relief,” Fed.

R. Civ. P. 8(a)(2), sufficient to provide defendant with “fair notice” of the claim and

the basis for it. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). This standard

“demands     more    than    an   unadorned,     the-defendant-unlawfully-harmed-me

accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). While “detailed factual

allegations” are not required, “labels and conclusions, and a formulaic recitation of

the elements of a cause of action will not do.” Twombly, 550 U.S. at 555. The

complaint must “contain sufficient factual matter, accepted as true, to ‘state a claim

to relief that is plausible on its face.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550

U.S. at 570). “Facial plausibility exists ‘when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.’” Thomas v. Neenah Joint Sch. Dist., 74 F.4th 521, 523 (7th Cir.

2023) (quoting Iqbal, 556 U.S. at 678). In applying this standard, the Court accepts

all well-pleaded facts as true and draws all reasonable inferences in favor of the non-

moving party. See Hernandez v. Ill. Inst. of Tech., 63 F.4th 661, 666 (7th Cir. 2023).

                                     Background

      Sega is a Japanese video game developer and Atlus is a Japanese video game

producer. R. 1 ¶¶ 6–7. Together, they manage the licensing, sale, and marketing of

products affiliated with the Shin Megami Tensei video games. Id. ¶ 8. Among other

trademarks, Sega owns and Atlus licenses U.S. Trademark No. 5,809,174 (the “P5

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Persona 5 Mark”). Id. ¶ 9. The P5 Persona 5 Mark, reproduced below, “consists of the

wording ‘P5’ where the top of the letter ‘P’ is positioned inside the bottom portion of

the number ‘5’ above the wording ‘PERSONA5’ in stylized font.” R. 68-2 at 1.




       Plaintiffs brought this suit against the 105 defendants identified on Schedule

A, alleging trademark infringement and counterfeiting under 15 U.S.C. § 1114 (Count

I), false designation of origin under 15 U.S.C. § 1125(a) (Count II), and violation of

the IUDTPA under 815 ILCS 510/1 et seq. (Count III) in connection with the P5

Persona 5 Mark and nine other registered Shin Megami Tensei-related trademarks.

R. 1 ¶ 9.

       Defendant Japan Entrance admits to selling forty units of the Max Factory

Figma Queen action figure on Amazon.com between January 2021 and February

2024. R. 63-2 ¶¶ 7, 16, 20. The product description on the Amazon.com listing reads

in relevant part, “From the popular anime persona5 the animation comes a figma of

one of the members of the Phantom thieves: Queen!” R. 68-1 at 2. Japan Entrance

moves to dismiss, arguing that its conduct did not infringe on any of the trademarks

at issue in this suit.

                                     Discussion

       To state a claim for trademark infringement, false designation of origin, or a

violation of the IUDTPA, Plaintiffs must allege “(1) that its mark is protectable, and


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(2) that the defendant’s use of that mark is likely to cause confusion among

consumers.” Phoenix Ent’mt Partners v. Rumsey, 829 F.3d 817, 822 (7th Cir. 2016).

Here, Plaintiffs do not plausibly allege that Japan Entrance used the P5 Persona 5

Mark. Whereas the mark at issue is stylized, with “P5” in staggered, graphic letters

above the word “PERSONA5” in a particular font, the allegedly infringing

Amazon.com listing merely includes the word “persona5” in non-stylized text in the

product description. Compare R. 68-1 with R. 68-2. 1 For that reason, Plaintiffs fail to

state a plausible claim for relief, and the Court dismisses the complaint as to Japan

Entrance. However, dismissing the complaint on that basis does not say anything

about whether Japan Entrance infringed on any other unregistered mark or

copyright in connection with the sale of the action figures at issue. Accordingly,

dismissal with prejudice is not appropriate. The Court will allow Plaintiffs the

opportunity to amend their complaint within 30 days.

      The Court adds that to state a claim under IUDTPA, Plaintiffs must plead facts

that suggest that “the circumstances that relate to the disputed transaction occur

primarily and substantially in Illinois.” LG Elecs. U.S.A., Inc. v. Whirlpool Corp., 809

F. Supp. 2d 857, 859 (N.D. Ill. 2011) (quoting Avery v. State Farm Mut. Auto. Ins. Co.,

835 N.E.2d 801, 853–54 (Ill. 2005)). Factors to be considered include the plaintiff’s

residence, where the deception occurred, where the damage to the plaintiff occurred,



1 Although   the Amazon.com listing at issue was not specifically referenced in or
attached to the complaint, Plaintiffs rely on its content in urging the Court to deny
the motion to dismiss. E.g., R. 68 at 4–5. Accordingly, the Court takes judicial notice
of the listing. See General Elec. Capital Corp. v. Lease Resolution Corp., 128 F.3d
1074, 1080 (7th Cir. 1997).
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and whether the plaintiff communicated with the defendant or its agents in

Illinois. Id. at 861. In this case, Plaintiffs and Japan Entrance are based in Japan

and the listing in question is available nationwide. Nevertheless, the Court will give

Plaintiffs the chance to plead facts that support these factors or alternatively drop

the claim.

                                     Conclusion

      For the foregoing reasons, the Court grants in part and denies in part the

motion to dismiss. The Court dismisses the complaint as to Japan Entrance without

prejudice and grants Plaintiffs leave to amend their complaint within 30 days. If

Plaintiffs do not file an amended complaint within 30 days, the dismissal will be with

prejudice. With this dismissal, the asset restraint is hereby lifted.




                                               ENTERED:



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                                               Honorable Thomas M. Durkin
                                               United States District Judge
Dated: January 14, 2025




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